fe Case 1:16-cr-00207-KPF Document 30 Filpd®BO4EIFN\Page1of6 ‘|i.
DOCUMENT
ELECTRONICALLY FILED

UNITED STATES DISTRICT COURT DOC #:

SOUTHERN DISTRICT OF NEW YORK ‘DATE FILED: id (eu |

7” - ” 7” - ” - 7” ~ - - - - ~- -” 7 x [Pe er 2

UNITED STATES OF AMERICA : INFORMATION

-v. - : S116 Cr. 207 (KBF)
BORIS NAYFELD,
Defendant.
_ _ ~ —_ —_ ~ —_ —_ _ - —_ - _ ~~ ~~ _ x
COUNT ONE

(Conspiracy to Commit Extortion)

The United States Attorney further charges:

1. From at least in or about June 2015, up to and
including at least in or about January 2016, in the Southern
District of New York and elsewhere, BORIS NAYFELD, the defendant,
and others known and unknown, unlawfully and knowingly combined,
conspired, confederated, and agreed together and with each other to

violate Title 18, United States Code, Section 1951.

2. It was a part and object of the conspiracy that BORIS
NAYFELD, the defendant, and others known and unknown, willfully and
knowingly, would and did obstruct, delay, and affect commerce and
the movement of articles and commodities in commerce by extortion as
that term is defined in Title 18, United States Code, Section 1951,
by obtaining money and property from and with the consent of another
person, which consent would have been and was induced by the

wrongful use of actual and threatened force, violence, and fear, to
se Case 1:16-cr-00207-KPF Document 30 _ Filed 08/04/17 Page 2 of 6

wit, NAYFELD, having informed an individual (“Victim-1”) that
NAYFELD had been asked to arrange the murder of Victim-1, agreed
with a co-conspirator not named herein (“CC-1”) to induce Victim-1

to pay NAYFELD to stop the murder plot.

3. It was a further part and object of the conspiracy
that BORIS NAYFELD, the defendant, and others known and unknown,
willfully and knowingly, would and did obstruct, delay, and affect
commerce and the movement of articles and commodities in commerce by
extortion as that term is defined in Title 18, United States Code,
Section 1951, by obtaining money and property from and with the
consent of another person, which consent would have been and was
induced by the wrongful use of actual and threatened force,
violence, and fear, to wit, NAYFELD and CC-1 agreed to use NAYFELD’s
reputation for violence and association with organized crime figures

to recover CC-1’s business interests in Russia.

4. It was a further part and object of the conspiracy
that BORIS NAYFELD, the defendant, and others known and unknown,
willfully and knowingly, would and did obstruct, delay, and affect
commerce and the movement of articles and commodities in commerce by
extortion as that term is defined in Title 18, United States Code,
Section 1951, by obtaining money and property from and with the
consent of another person, which consent would have been and was

induced by the wrongful use of actual and threatened force,
“oF Case 1:16-cr-00207-KPF Document 30 _ Filed 08/04/17 Page 3of6

violence, and fear, to wit, NAYFELD and a co-conspirator not named
herein (“CC-2”) agreed to use NAYFELD’s reputation for violence and
association with organized crime figures to collect a debt owed to

CC-2.

(Title 18, United States Code, Section 1951.)

COUNT TWO

(Extortion)

The United States Attorney further charges:

5. From at least in or about October 2015, up to and
including at least in or about January 2016, in the Southern
District of New York and elsewhere, BORIS NAYFELD, the defendant,
and others known and unknown, unlawfully and knowingly committed and
attempted to commit extortion, as that term is defined in 18 U.S.C.
§ 1951(b) (2), by obtaining money and property from and with the
consent of another person, which consent would have been and was
induced by the wrongful use of actual and threatened force,
violence, and fear, and thereby would and did obstruct, delay, and
affect commerce and the movement of articles and commodities in
commerce, as that term is defined in 18 U.S.C. § 1951(b) (3), and did
aid and abet the same, to wit, NAYFELD, having informed Victim-1
that NAYFELD had been asked to arrange the murder of the Victim-1,
collected and attempted to collect payment from Victim-1 to stop the

murder plot.

(Title 18, United States Code, Section 1951 and 2.)

3
: Case 1:16-cr-00207-KPF Document 30 _ Filed 08/04/17 Page 4of6

FORFEITURE ALLEGATION

6. As a result of committing the offense alleged in
Counts One and Two of this Information, BORIS NAYFELD, the
defendant, shall forfeit to the United States, pursuant to Title 18,
United States Code, Section 981(a)(1)(C) and Title 28 United States
Code, Section 2461(c), any and all property, real and personal, that
constitutes or is derived from proceeds traceable to the commission
of said offense, including but not limited to a sum of money in
United States currency representing the amount of proceeds traceable
to the commission of said offenses.

Substitute Assets Provision

7. If any of the above-described forfeitable property,
as a result of any act or omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a
third person;

c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot

be subdivided without difficulty;
it is the intent of the United States, pursuant to Title 21, United

States Code, Section 853(p) and Title 28, United States Code,
Ses Case 1:16-cr-00207-KPF Document 30 _ Filed 08/04/17 Page 5of6

Section 2461(c), to seek forfeiture of any other property of the
defendant up to the value of the above forfeitable property.
(Title 18, United States Code, Section 981;

Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

Vhuet Aye

PREET BHARARA wa pe
United States Attorney

r fat

Case 1:16-cr-00207-KPF Document 30 _ Filed 08/04/17 Page 6 of 6

Form No. USA-33s-274 (Ed. 9-25-58)

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

Vv.

BORIS NAYFELD,

Defendant.

INFORMATION

S116 Cr. 207 (KBF)

(18 U.S.C. §§ 1951 and 2.)

PREET BHARARA

United States Attorney.

